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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF TEXAS

EL PASO DIVISION
USA §
§
vs. § NO: EP:24-M -02563(1) RFC
§
(1) MARIA ELENA RAMOS-JORGE §

WAIVER OF PRELIMINARY HEARING
AND/OR DETENTION HEARING
(Rule 5 or 32.1, Fed. R.Crim.P,)

PRELIMINARY HEARING

I, (1) MARIA ELENA RAMOS-JORGE, charged in a complaint pending in this District, and having
appeared before this Court and been advised of my rights as required by Rule 5 or 32.1, Fed.R.CrimP., including
my right to have a preliminary hearing, | have been advised that at a preliminary hearing, the government will be
feiss to provide evidence to support the charges pending against me. Now, appearing with the benefit of counsel
1, do hereby waive (give up) my right to a preliminary hearing.

Yo, (1) MARIA ELENA RAMOS-JORGE, el inculpado en una acusacién pendiente en este Distrito, he
comparecido ante este Tribunal y me han informado de mi derecho a una audiencia preliminar, cumpliendo con el
reglamento 5 0 32.1 de los Reglamentos de Procedimientos Penales Federales, por este medio renuncio (abandono)
ami derecho a una audiencia preliminar,

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Date/Fecha A (1) MARIA ELENA RAMOS-JORGE,
Defendant/Acusado

DETENTION HEARING

I have also been advised of my right to a detention hearing. I have been advised that, at a detention
hearing, the court will hear evidence to determine whether I should be held in jail without bond or whether a bond
should be set for me, I have been advised that, if 1 waive (give up) my right to a detention hearing, | will be held in
jail without bond while I wait for trial. [ have discussed this right with counsel, and | hereby waive (give up) my
right to have a detention hearing,

También me han informado de mi derecho a una audiencia para fijar fianza, el juez recibird las pruebas
para poder determinar si seguiré detenido sin fianza o si me fijaran fianza, Me han informado que si renuncio
(abandono) mi derecho a una audiencia para fijar fianza, seguiré detenido sin fianza hasta que se me someta a jucio.
Renuncio (abandono) mi derecho a una audiencia para fijar fianza,

b 24-24

Date/Fecha

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534-6525, Fedgral Public Defender,
COUNSEL FQR DEFENDANT
